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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

MAUREEN MCGLADE,                                         )
                                                         )
                                           Plaintiff,    )          No.:   10-cv-3167
                                                         )
vs.                                                      )          JURY DEMAND
                                                         )
CITY OF CHICAGO, a municipal corporation,                )
CHICAGO POLICE DEPARTMENT,                               )
Unknown members of the 16th District Tactical Team 1661, )
Unknown members of Gang Team 1668,                       )
Unknown members of the 14th District Tactical Team #1461)
Unknown members of SWAT Beat 4600,                       )
and other unknown officers,                              )
                                           Defendants. )

                                         COMPLAINT

       Now comes the Plaintiff, MAUREEN MCGLADE, by and through her attorney,

GEORGE E. BECKER and complaining of Defendants, the City of Chicago, the Chicago Police

Department, unknown members of the 16th District Tactical Team #1661, unknown members of

Gang Team #1668, Unknown members of the 14th District Tactical Team #1461, unknown

members of SWAT Beat 4600, Officer Jane Does and other unknown officers, alleges as

follows:

                                          Introduction

       1.      In the late evening hours of May 30, 2008, the Plaintiff attended a birthday party

at a social club located at 2514 W. Fullerton Avenue, Chicago, Illinois.

       2.      That sometime after 11:30 p.m., Chicago Police officers entered the social club at

2514 W. Fullerton Avenue, Chicago, Illinois entered the premises by force blowing off smoke

grenades, displaying semi-automatic weapons, ziptied Plaintiff and other persons in the club,

unlawfully detained, intimidated and deprived Plaintiff of her personal liberty, physically
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searched Plaintiff’s breast and crotch area all while acting under color of law as Chicago Police

Officers and deprived Plaintiff of her rights secured under the Constitution of the United States,

including rights secured by the Fourth, Fifth and Fourteenth Amendments to the United States

Constitution.

                                            Jurisdiction

        3.      This is an action brought pursuant to Title 28 U.S.C. Section 1983 and the Fourth

and Fourteenth Amendments to the United States Constitution. Jurisdiction is founded upon 28

U.S.C. Sections 1331 and 1343(a) and the aforestated constitutional and statutory provisions.

The Plaintiff also invokes the supplemental jurisdiction of this Court pursuant to Section 1367 to

decide and hear claims under state law.

                                              VENUE

        4.      Venue is proper in this District pursuant to 28 U.S.C. Section 1391(b) in that all

claims arose in this District.

                                          THE PARTIES

        5.      The Plaintiff is a resident of Cook County, Illinois.

        6.      The City of Chicago is a municipal corporation which is incorporated under the

laws of the State of Illinois and which employs Chicago Police Officers.

        7.      There were various unknown officers totaling approximately 20 individuals many

dressed in full riot gear and masks. On information and belief these individuals were unknown

members of Swat Beat 4600.

        8.      On information and belief, the 16th District Tactual Team 1661, the Gang Unit

1668 and the 14th District Tactical Team #1461 participated in an unlawful search, seizure and

detention of Plaintiff following the Swat Team entering the premises.




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           9.    All of the aforementioned individuals and unknown officers were employed by

the Chicago Police Department on May 30 and May 31, 2008.

           10.   The City of Chicago is sued directly in Count VII of the failure to supervise, train,

control and discipline officers, including how to serve cease and desist orders and are also named

pursuant to the doctrine of Respondent Supervisor in related State law claims.

           11.   That the unknown members of the Chicago Police Department were employed by

the City of Chicago on May 30 and May 31, 2008. At all times relevant hereto those officers

who were at 2514 W. Fullerton Chicago, Illinois on the aforementioned dates and times were

acting under the color of the statutes, ordinances, regulations, customs and usages of the State of

Illinois; the City of Chicago, the Chicago Police Department and within the scope of their

employment with the City of Chicago.

                               Facts Supporting the Cause of Action

           12.   On May 30, 2008, the Plaintiff went with a friend to a social club at 2514 W.

Fullerton, Chicago, Cook County, Illinois. The Plaintiff arrived after 11:30 p.m. and gained

entry to the premises by being buzzed in through security doors.

           13.   Within minutes after entering the premises at 2514 W. Fullerton the Plaintiff and

other individuals in the premises were subjected to police officers in full riot gear breaking open

the front door, discharging smoke grenades, entering the premises in full riot gear with guns

drawn.

           14.   Prior to their entry into the social club the police did not announce their purpose

or request entry into the premises.

           15.   That Plaintiff was ordered at gunpoint to lay on the floor after which she was

ziptied.




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          16.   That at the point Plaintiff was ziptied there was no arrest warrant for her person.

          17.   That at the point Plaintiff was ziptied there was no search warrant for her person.

          18.   That after being ziptied the Plaintiff was detained for a lengthy period of time.

During her detainment the Plaintiff complained on multiple occasions that her zipties were too

tight.

          19.   During the period of being ziptied the Plaintiff was denied the use of the

washroom.

          20.   That after being detained for a lengthy period of time the Plaintiff had her person

searched by a female officer. The search took place in front of a doorway which was in full view

of male officers and other persons who were in the social club. The Plaintiff had her breast area

searched and her pants opened for a search of her crotch area, which was in front of other.

          21.   That after being detained for several hours the Plaintiff was released by the Police

with no explanation for her detention.

          22.   That while detained officers never showed Plaintiff any type of arrest or search

warrant.

          23.   On information and belief the police had a search warrant for the premises which

had been issued many hours earlier and which could have been executed when the social club

had limited patrons.

          24.   On information and belief the police had a search warrant for the person of Edwin

Colon a male, Hispanic in his 50s. There was no search warrant for any other person in the

social club and no arrest warrant for any woman in the club.

          25.   That the search of Plaintiff was far in excess of a protective pat down search.




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        26.     That at the time the Plaintiff was searched by police she was ziptied and was no

danger to the officers.

        27.     That the actions of the officers was willful, wanton, malicious and was conducted

with a conscious disregard and deliberate indifference to Plaintiff’s rights.

        28.     As a direct and proximate result of the acts of Defendant Officers, the Plaintiff

suffered and continues to suffer damages from the loss of physical liberty, emotional distress,

physical pain and suffering, mental anguish and humiliation.

                                            COUNT I
                            (42 U.S.C. Section 1983 - Unreasonable Seizure)

        29.     The Plaintiff realleges paragraphs 1-28 as and for paragraphs 1-28 of this Count I.

        30.     The known and unknown officers were not aware of specific and articulable facts

which suggested the Plaintiff was about to commit a crime or had committed a crime.

        31.     The known and unknown officers did not have a lawful basis to stop, detain or

seize the Plaintiff.

        32.     The actions of the unknown officers in seizing the Plaintiff without any legal

justification or probable cause violated her Fourth Amendment Rights as guaranteed by the

Fourteenth Amendment of the United States Constitution to be free from unreasonable searches

and seizures.

        Wherefore the Plaintiff requests this Court to:

                a) Enter judgment against the unknown officers;

                b) Award compensatory and punitive damages as determined at trial;

                c) Award attorneys’ fees and costs;

                d) For other such relief as is fair, just and equitable.




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                                         COUNT II
                          (42 U.S.C Section 1983 – Excessive Force)

       33.    Plaintiff realleges paragraphs 1-28 as fully set forth herein.

       34.    The actions of the unknown officers violated the Plaintiff’s Fourth Amendment

Rights as guaranteed by the Fourteenth Amendment, to be free from the use of excess and

unreasonable force.

       Wherefore the Plaintiff requests this Court to:

              a) Enter judgment against the unknown officers;

              b) Award compensatory and punitive damages as determined at trial;

              c) Award attorneys’ fees and costs;

              d) For other such relief as is fair, just and equitable.

                                          COUNT III
                      (42. U.S.C. Section 1983 – Illegal Search of Person)

       35.    The Plaintiff realleges paragraphs 1-28 as if fully set forth herein.

       36.    The actions of unknown female officer in searching Plaintiff’s persons without

any legal justification or probable cause violated her Fourth Amendment right, as guaranteed by

the Fourteenth Amendment, to be free from unreasonable searches.

       Wherefore the Plaintiff requests this Court to:

              a) Enter judgment against the unknown female officer;

              b) Award compensatory and punitive damages as determined at trial;

              c) Award attorneys’ fees and costs;

              d) For other such relief as is fair, just and equitable.

                                       COUNT IV
      (42. U.S.C. Section 1983 – Substantive Due Process, Arbitrary Abuse of Power)

       37.    The Plaintiff realleges paragraphs 1-28 as if fully set forth herein.



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          38.     The conduct described above was an egregious arbitrary abuse of government

power that shocks the conscience.

          Wherefore the Plaintiff requests this Court to:

                  a) Enter judgment against the unknown officers;

                  b) Award compensatory and punitive damages as determined at trial;

                  c) Award attorneys’ fees and costs;

                  d) For other such relief as is fair, just and equitable.

                                            COUNT V
                (42. U.S.C. Section 1983 – Monell Claim against the City of Chicago)

          39.     Plaintiff realleges all of the above paragraphs and counts, as if fully set forth

herein.

          40.     At all times material to this Complaint, there existed in the City of Chicago the

following practices, policies and customs:

                  a.      stopping, detaining, arresting, and searching civilians without a warrant,
                          probable cause, reasonable suspicion, consent, or any other legal basis;

                  b.      searching civilians’ homes without a warrant, probable cause, reasonable
                          suspicion, consent, or any other legal basis;

                  c.      arbitrary use of excessive force against arrestees, detainees and other
                          civilians;

                  d.      denial of substantive due process, abuse of legal process, malicious
                          prosecution, and filing of false charges against innocent persons;

                  e.      mental abuse, oral abuse and assault of arrestees, detainees, and other
                          civilians;

                  f.      preparing false and incomplete police reports to cover up police
                          misconduct including unconstitutional searches and seizures;

                  g.      not preparing police reports, and false denial that an incident of
                          misconduct even took place, in attempt to suppress and conceal police
                          misconduct including unconstitutional searches and seizures;



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               h.     filing false charges and pursuing baseless prosecution in order to protect
                      police officers from claims of improper conduct and avoid liability;

               i.     a code of silence in which police officers failed to report police
                      misconduct including the type of misconduct alleged by Plaintiff in this
                      Complaint, and described in sub-paragraphs a-h above;

               j.     said code of silence also includes police officers either remaining silent or
                      giving false and misleading information during official investigations to
                      cover up misconduct, and protect themselves and other officers;

               k.     failure to adequately train, supervise and discipline police officers in the
                      categories and filed of police work addressed in sub-paragraphs a-h above;

               l.     failure to adequately train and supervise police officers to rectify the
                      malfeasance described in sub-paragraphs a-h above;

               m.     failure to adequately investigate citizen complaints against police officers
                      for the type of misconduct alleged by Plaintiff in this Complaint, and
                      described in sub-paragraphs a-i above;

               n.     failure to adequately discipline citizen complaints against police officers
                      for the type of misconduct alleged by Plaintiff in this Complaint, and
                      described in sub-paragraphs a-i above;

               o.     through the Office of Professional Standards (OPS), conducting inherently
                      deficient investigation of citizen complaints of police misconduct in which
                      an officer is disciplined in a minuscule percentage of cases, thereby
                      encouraging even more police misconduct;

               p.     failure to deter police officers from the type of misconduct alleged in this
                      Complaint, and described in sub-paragraphs a-i above, by its lack of
                      discipline for police misconduct, and defective OPS investigations.

       41.     The actions of the unknown officers as alleged in this Complaint were done

pursuant to, and as a result of, one or more of the above de facto practices, policies and customs

of the City of Chicago, the Chicago Police Department, and its police officers.

       42.     One or more of the following entities, authorities and officials are responsible for

the policies, practices and customs alleged above: the Mayor of Chicago, the City Council, the

aldermen, the Chicago Police Department, the Chicago Police Board (to which the City of



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Chicago has delegated de jure final policy-making authority for the Chicago Police Department);

the members of the Chicago Police Board, the Office of Professional Standards, and

Superintendent Jody Weis (to whom the City of Chicago has delegated du facto final policy-

making authority for the Chicago Police Department regarding the matters complained of

herein).

       43.     The practices, policies and customs described above were widespread, permanent

and well-settled, and were known, or should have been known, to the municipal policy-makers

of the City of Chicago.

       44.     The municipal policy-makers of the City of Chicago acted with deliberate

indifference to the rights of Plaintiff in maintaining, overlooking and preserving the

unconstitutional practices, policies and customs delineated above.

       45.     By their inaction and failure to correct the above-described practices, policies and

customs, municipal policy-makers tacitly approve and thus indirectly authorize the type of

misconduct Plaintiff complains of herein.

       WHEREFORE, Plaintiff asks that this Honorable Court:

               a) Enter judgment against the City of Chicago;

               b) Award Plaintiff compensatory damages, as determined at trial;

               c) Award Plaintiff attorneys' fees and costs;

               d) Award such other and additional relief that this Honorable Court deems just

               and equitable.

                                        COUNT VI
                           (State Law Respondeat Superior Claim)

       46.     The acts of the unknown officers described in the supplementary state law claims

specified above were willful and wanton, and committed in this scope of employment.



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          47.   Pursuant to respondeat superior, Defendant City of Chicago, as principal, is liable

for its agents' actions.

          WHEREFORE, Plaintiff demand judgment against the City of Chicago, and such other

and additional relief that this Honorable Court deems just and equitable.

                                          COUNT VII
                     (Indemnification Claim pursuant to 745 ILCS 10/9-102)

          48.   Plaintiff realleges all of the above paragraphs and counts as if fully set forth

herein.

          49. The acts of the unknown officers described in the above claims were willful and

wanton, and committed in the scope of employment.

          50. Pursuant to Illinois Tort Immunity Act, 745 ILCS 10/9-102, Defendant City of

Chicago is liable for any judgments in this case arising from the actions of the Defendant-

Officers.

          WHEREFORE, Plaintiff asks that this Honorable Court order Defendant City of Chicago

to indemnify the Defendant-Officers for any judgment entered in this case arising from their

actions.

          PLAINTIFF DEMANDS TRIAL BY JURY ON ALL COUNTS.

                                                     Respectfully submitted,



                                                     s/George E. Becker
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